Case 1:17-cv-00379-LTB Document 8 Filed 03/06/17 USDC Colorado Page 1 of 14

_ IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

 

 

Civil Action No. / , | ‘/[-c. V-00STIG D6 UNITED PILED
(To be supplied by the court) DENVER, COLORADO CURT
ns If MAR 06 2017
lrayis fb ade] » ApplidRFREY P. COLWELL
y CLERK
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> feve K COLTS — Respondent.

 

(Name of warden, superintendent, jailer, or other custodian)

 

APPLICATION FOR A WRIT OF HABEAS CORPUS
PURSUANT TO 28 U.S.C. § 2241

 

A. PARTIES

Treu's_ Haken, 11393%, 210 0" 3h. oreletica ites |

(Applicant’s name, prisonér identificatior! number, and complete mailing address)

-

2 Steve Reams, 19SO } “SE btecky, Co, 3hSl

(Respondent’s name and complete mailing address)

3. Ifyou are not confined in a prison, jail, or other correctional facility, explain how you are
in custody:

 

4. Ifyou are confined in a prison, jail, or other correctional facility but the named
respondent is not the warden, superintendent, or jailer at the prison, jail, or correctional
facility in which you are confined, explain how the respondent is your custodian:

 

B. NATURE OF THE CASE

(Rev. 9/02/04)
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BRIEFLY state the background of your case. If more space is needed to describe the nature of
the case, use extra paper to complete this section. The additional allegations regarding the x
of the case should be labeled “B. NATURE OF THE CASE.” /f2 )PSO VoD oO

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Sate concisely every claim that you wish to assert in this action. For each claim, specify the
right that allegedly has been violated and state all supporting facts that you consider important.
You do not need to cite specific cases to support your claim(s). If you need additional space to
describe any claim or to assert additional claims, use extra paper to continue the claim or to
assert the additional claims. Identify clearly any additional pages that you attach to this form.

 

CAUTION: In order to proceed in federal court, you ordinarily must exhaust administrative
and/or state remedies for each claim that is asserted in this action.

1. Have you exhausted administrative and/or state
V_ Yes

remedies for each claim asserted in this action? __._ No (CHECK ONE)

2. If you answered “No” to question 1., list the claims
for which you have not exhausted administrative
and/or state remedies and explain why:

 

 

 

3. Claim One: 14 Aseadlaerd - Due. Process of Late

(Rev. 9/02/04) 2
Case 1:17-cv-00379-LTB Document 8 Filed 03/06/17 USDC Colorado Page 3 of 14

A: Supporting facts:

see [Neded

B. Explain the steps you have taken to exhaust administrative and/or state remedies
for this claim (attach proof of exhaustion, if available):

4. Claim Two: IY Th onboard - Due Lr (OCESS oF Lee

A. Supporting Facts:

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see

B. Explain the steps you have taken to exhaust administrative and/or state remedies
for this claim (attach proof of exhaustion, if available):

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5. Claim Three:

 

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A. Supporting facts:

B. Explain the steps you have taken to exhaust administrative and/or state remedies
for this claim (attach proof of exhaustion, if available):

D. PRIOR APPLICATIONS
1. Have you filed any prior action in federal court in
which you raised or could have raised the claims “X
raised in this action? __. Yes VY. No (CHECK ONE)
2. If you answered “Yes” to question 1., give the following information for each prior

federal court action challenging the execution of your sentence.

A. Name and location of court:

 

B. Case number:

 

C. Type of proceeding:

 

D. List the claims raised:

 

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E. Were the claims in this
action actually asserted in
the prior action? __ Yes __ No (CHECK ONE)

F. Were the claims in this
action available to be .
asserted in the prior action? __ Yes __No (CHECK ONE)

G. Date and result (attach a
copy of the decision if
available):

 

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DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that I am the applicant in this action, that I have read this
application, and that the information in this application is true and correct. See 28 U.S.C. §

1746; 18 U.S.C. § 1621.
Ail J VA

Executed on 4 > | ~ | 7
~ (Date)
' (Applicant’s Original Signature)

(Rev. 9/02/04) 5
Case 1:17-cv-00379-LTB Document 8 Filed 03/06/17 USDC Colorado Page 6 of 14

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RAPP, MANZER & WIEST, LLP ©

Criminal, Family C Probate Law

MARK A. RAPP, ESQ. MICHELLE NICHOLS, PARALEGAL

Jerry D. MANZER, EsQ. MEGAN SNOW, PARALEGAL

ROBERT A. WIEST, ESQ. ANGLE TJADEN, PARALEGAL
February 24, 2017

Travis Hodson—Inmate
Weld County Jail
2110 O St, Greeley, CO 80631

Re: Court Date

Dear Mr. Hodson,

As we discussed today your competency hearing was reset on December 30", 2016. This
hearing needed to be reset as we requested the presence of Dr. Kennedy. This hearing was set
off the record as we needed to coordinate Dr. Kennedy’s schedule with the Court. The hearing
was set for February 27", 2017 at 2:00pm. The jail was also notified of this date. Nevertheless,
my office was in error as we should have sent you notice of the hearing. I apologize for this
error. If you have further questions don’t hesitate to contact me--you can call my office from the
jail without cost.

Respectfully,

Rapp, MANZER & WIEST, LLP

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Jerry Manzer

JM/ms

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Ci Po es
710 117 AVE., SUITE 300 @ GREELEY, CO-80631 ~~,"
PHONE: (970) 346-8500 @ FAX: (970) 353-8178 we

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~ Weld County Jail Aa a

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